MRL ora het kelp col eM AUA eo] etic

 

United States Bankruptcy Court for the:

District of Colorado

Case number (itknown: 1:20-bk-17026KHT

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Chapter you are filing under:
Chapter 7

Chapter 11

Cl Chapter 12

CJ Chapter 13

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OC) Check if this is an

amended filing

04/20

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

6. Type of debtor

Official Form 201

Springs Medical Association P.C.

Springs Medical Associates, Inc.

 

 

 

 

 

XX-XXXXXXX

 

Principal place of business

155 Printers Parkway

 

Mailing address, if different from principal place
of business

 

 

 

 

 

Number Street Number Street
P.O. Box
Colorado Springs CO 80910
City State ZIP Code City State ZIP Code

El Paso County

 

County

www.springsmedicalassociates.com

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

 

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(Partnership (excluding LLP)
other. Specify:

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Debtor

7.

10.

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Springs Medical Association P.C.

1:20-bk-17026KHT

Case number (if known)

 

Name

Describe debtor’s business

Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-

box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11

(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
CQ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(J Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

Cj Commodity Broker (as defined in 11 U.S.C. § 101(6))

CJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

[J] None of the above

B. Check all that apply:

| Tax-exempt entity (as described in 26 U.S.C. § 501)

(J investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

(J investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.naics.com/search/ .

Check one:

CI Chapter 7

1) Chapter 9

Chapter 11. Check all that apply:

(2 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Oa plan is being filed with this petition.

CD Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(2 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(7) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

(© Chapter 12

EINo
| Yes. District

 

When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
No
CyYes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor

Springs Medical Association P.C.

1:20-bk-17026KHT

Case number (if known)

 

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Check all that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LJ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

ZINo

[J Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

CD it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

LJ It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

LJ Other

 

Where is the property?
Number Street

 

 

City State ZIP Code

Is the property insured?
L} No

L} Yes. Insurance agency

 

Contact name

 

Phone

 

S| Statistical and administrative information

Check one:

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Official Form 201

Funds will be available for distribution to unsecured creditors.
UI After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 LJ 1,000-5,000 LJ 25,001-50,000

LJ 50-99 LJ 5,001-10,000 LJ 50,001-100,000

LJ 100-199 LJ 10,001-25,000 LJ More than 100,000

LJ 200-999

LJ $0-$50,000 $1,000,001-$10 million LJ $500,000,001-$1 billion

LJ $50,001-$100,000 LJ $10,000,001-$50 million LJ $1,000,000,001-$10 billion
LJ $100,001-$500,000 LJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
LJ $500,001-$1 million LJ $100,000,001-$500 million LJ More than $50 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Springs Medical Association P.C.

Debtor

 

Name

16. Estimated liabilities

LI $0-$50,000

LJ $50,001-$100,000
LJ $100,001-$500,000
$500,001-$1 million

| Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

18. Signature of attorney

Official Form 201

Case number (if known)

LJ $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

1:20-bk-17026KHT

 

LJ $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
LJ More than $50 billion

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 11/30/2020

MM /DD /YYYY

X /s/ Dr. Francis Joseph, MD.

Dr. Francis Joseph, MD.

 

Signature of authorized representative of debtor

Title Authorized 100% Shareholder

 

X /s/ Edward Williams

 

Signature of attorney for debtor

Edward Williams

Printed name

pate 11/30/2020

MM /DD /YYYY

 

Printed name

 

 

 

 

 

Williams, LLP

Firm name

7 World Trade Center 4629
Number Street

New York NY 10007
City State ZIP Code

212-634-9106 edward.williams@wmsintl.com
Contact phone Email address

5634738(NY); 41891 (CO)

NY

 

Bar number

Voluntary Petition for Non-Individuals Filing for Bankruptcy

State

page 4
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Re MCMC (Uhm eRe CoM

 

Springs Medical Association P.C.
Debtor name

 

District of Colorado
United States Bankruptcy Court for the:

 

 

(State)
Case number (If known): 1:20-bk-17026KHT
[" |check if this is an
amended filing
Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

 

in Summary of Assets

1. Schedule A/B: Asseis—Real and Personal Property (Official Form 206A/B)

 

1a. Real property:

 

 

$ 0.00
Copy line 88 from SChECUIC A/B ......-..::csececccseeeeeeeneeeeeeeeeeseene cece anaes eneensesaen seen eesuenseeseeaseeeseeaesaseeseseeneeeeesaneeneneeesaseaneeeeeeaneates TTT

1b. Total personal property: $ 3,574,610.00
Copy line 91A from Schedule A/B

 

 

1c. Total of all property:

g _3:974,610.00
Copy line 92 from Schedule A/B

 

 

 

ir Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

5 801,674.39
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........::ececei sees eeeeeeeneneeees a
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims: 9.800.00
Copy the total claims from Part 1 from line 6a of Schedule E/F.........csccsssesssessssssesssesssesseessseesevssevesevesavesivessneneesatesneeeseess $_ “eee

3b. Total amount of claims of nonpriority amount of unsecured claims:

+5 1,125.00
Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F. —

 

4. Total lia@btlities ............ occ cccceeeesseeeeeseneeeeseeeseseneesseneesasueeesnsnesesaseeeasaaeeesceeeesssesesssseesesaseteasesssasceesasoeeensenesasaesesesseeesaseeeessns $ 81 2,599.39
Lines 2 + 3a+ 3b OO

 

 

 

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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MURR em UN AUCH

 

Debtor name Springs Medical Association P.C.

 

United States Bankruptcy Court for the: District of Colorado

[| check if this is an
1:20-bk-17026KHT

Case number (If known): amended filing

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders 12/5

Alist of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Name of creditor and complete Name, telephone number, Nature of the claim Indicate if Amount of unsecured claim
mailing address, including zip code and email address of (for example, trade claim is If the claim is fully unsecured, fill in only unsecured
creditor contact debts, bankloans, contingent, — claim amount. If claim is partially secured, fill in
professional unliquidated, total claim amount and deduction for value of
services, and ordisputed collateral or setoff to calculate unsecured claim.
government
contracts)
Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or
setoff
Peublo Chieftain
1,125.00

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page7 of 43

Springs Medical Association P.C. 1:20-bk-1 7026KHT

 

 

Debtor Case number (if known)
Name
Name of creditor and complete Name, telephone number, Nature of the claim Indicate if Amount of unsecured claim
mailing address, including zip code and email address of (for example, trade claimis If the claim is fully unsecured, fill in only unsecured
creditor contact debts, bankloans, contingent, — claim amount. If claim is partially secured, fill in
professional unliquidated, total claim amount and deduction for value of
services, and ordisputed — collateral or setoff to calculate unsecured claim.
government
contracts)
Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or
setoff
9
10
11
12
13
14
15
16
17
18
19
20

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Pages of 43

Fill in this information to identify the case:

 

Debtor name Springs Medical Association P.C.

 

United States Bankruptcy Court for the:_District of Colorado

Case number (If known): 1:20-bk-17026KHT

L) Check if this is an
amended filing

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

faa Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

LI No. Go to Part 2.
Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest
2. Cash on hand g 0.00

3. Checking, savings, money market, or financial brokerage accounts (/denitify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1, MidFirst Bank Checking 7 4 3 $ Unknown
3.2, US Bank Checking 5 1 ¢ Unknown

 

G4
19

 

4. Other cash equivalents (/dentify all)
41.

 

4.2.

 

 

5. Total of Part 1 g 0.00

 

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

Ea Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
No. Go to Part 3.
CJ Yes. Fill in the information below.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits

Description, including name of holder of deposit
7.1. $
7.2, $

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page9 of 43
Debtor Springs Medical Association P.C. Case number (itinown 1:20-bk-1 7026KHT

 

Name

. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment

 

 

 

 

8.1. $
8.2. $

9. Total of Part 2. $
Add lines 7 through 8. Copy the total to line 81.

Carn Accounts receivable

10. Does the debtor have any accounts receivable?

11.

12.

O No. Go to Part 4.

Yes. Fill in the information below.

Accounts receivable

 

 

11a. 90 days old or less: _500,000.00 — 0.00 =D
face amount doubtful or uncollectible accounts

11b. Over 90 days old: 2,700,000.00 — 0.00 =D
face amount doubtful or uncollectible accounts

Total of Part 3

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Gaza Investments

13.

14.

15.

16.

17.

Does the debtor own any investments?
No. Go to Part 5.
CJ Yes. Fill in the information below.

Valuation method
used for current value

Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:

 

 

 

 

 

Current value of debtor’s
interest

g 500,000.00

$ 2,700,000.00

 

 

$ 3,200,000.00

 

Current value of debtor’s
interest

 

 

 

 

 

14.1. $
14.2. $
Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:
15.1. % $
15.2. % $
Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
16.1. $
16.2. $
Total of Part 4 $

Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 2

 

 
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Springs Medical Association P.C.
Debtor

 

Name

ia Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
LD No. Go to Part 6.
Yes. Fill in the information below.

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1:20-bk-17026KHT

Case number (if known)

General description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value

(Where available)

19. Raw materials

 

 

MM /DD/YYYY $

20. Work in progress

MM /DD/YYYY $

 

 

21. Finished goods, including goods held for resale

Office Papers 41/20/2020 150.00 Estimate

 

MM /DD/YYYY $

 

22. Other inventory or supplies

MM /DD/YYYY §

 

 

23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
LI No
WA Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

No
O Yes. Book value Valuation method

Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

'@ No
UL) Yes

Farming and fishing-related assets (other than titled motor vehicles and land)

Current value of
debtor's interest

150.00

 

 

§.

1,970.00

 

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

No. Go to Part 7.

CL) Yes. Fill in the information below.

General description Net book value of

debtor's interest for current value
(Where available)

28. Crops—either planted or harvested

Valuation method used

Current value of debtor’s
interest

 

 

 

 

 

 

 

 

$. $
29. Farm animals Examples: Livestock, poultry, farm-raised fish

$ 5
30. Farm machinery and equipment (Other than titled motor vehicles)

$ $
31. Farm and fishing supplies, chemicals, and feed

$ $
32. Other farming and fishing-related property not already listed in Part 6

$. $

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

page 3

 
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Debtor Springs Medical Association P.C. Case number (itknown) 1:20-bk-17026KHT
Name
33. Total of Part 6. $
Add lines 28 through 32. Copy the total to line 85.

34.

35.

36.

37.

Is the debtor a member of an agricultural cooperative?

OI No

CU) Yes. Is any of the debtor’s property stored at the cooperative?

O No

O) Yes
Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
CI No

CU) Yes. Book value $ Valuation method Current value $

Is a depreciation schedule available for any of the property listed in Part 6?

LI No
CI Yes

Has any of the property listed in Part 6 been appraised by a professional within the last year?

LI No
UI Yes

itis@em Office furniture, fixtures, and equipment; and collectibles

38.

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

LI No. Go to Part 8.
Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

(Where available)

 

 

Current value of debtor’s
interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

39. Office furniture
$ $
40. Office fixtures
$ $
41. Office equipment, including all computer equipment and
communication systems equipment and software
Toilette papers, female hygentic products g 150.00 Estimate g 150.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.1 $
42.2 $
42.3 -$
43. Total of Part 7.
: : $ 150.00
Add lines 39 through 42. Copy the total to line 86.

44.

45.

Is a depreciation schedule available for any of the property listed in Part 7?

No
L] Yes

Has any of the property listed in Part 7 been appraised by a professional within the last year?
No
L) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 4

 

 
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Springs Medical Association P.C. 1:20-bk-17026KHT

Debtor Case number (ifknown)__*

 

Name

Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

CI No. Go to Part 9.
Yes. Fill in the information below.

General description Net book value of Valuation method used = Current value of
debtor's interest for current value debtor’s interest
Include year, make, model, and identification numbers (i.e., VIN,

HIN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

47.1 $ $
47.2 $ $
47.3 $ $
47.4 $ $
48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $
48.2 $ $
49. Aircraft and accessories
49.1 $ $
49.2 $
50. Other machinery, fixtures, and equipment
excluding farm machinery and equipment)
ee continuation sheet
$ 391,390.00 $ 372,490.00
51. Total of Part 8. $ 372,490.00
Add lines 47 through 50. Copy the total to line 87.

 

 

 

52. Is a depreciation schedule available for any of the property listed in Part 8?

Y No
L] Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

Y No
L] Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 5
Debtor Case number (if known)

Case 0 top e aK Roc#:44 Filed:11/30/20 Entered:11/30/20 23 So: R14 709647 of 43

sociation P

Name

Real property

54.

55.

Does the debtor own or lease any real property?
LI No. Go to Part 10.
Yes. Fill in the information below.

Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of prope: Nature and extent Net book value of Valuation method used
eee address or other ee as of debtor’s interest debtor's interest for current value
Assessor Parcel Number (APN), and type of property in property (Where available)

(for example, acreage, factory, warehouse, apartment
or office building), if available.

Current value of
debtor’s interest

 

 

 

 

 

551 155 Printers Parkway Lease
, 0.00

$ $

55.2
$ $

65.3
$ $

56. Total of Part 9. $ 0.00

57.

58.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule available for any of the property listed in Part 97

No

C) Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?
No

L) Yes

at Intangibles and intellectual property

59.

60.

61.

62.

63.

64.

65.

66.

Does the debtor have any interests in intangibles or intellectual property?
No. Go to Part 11.
CJ Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

(Where available)

 

 

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

Patents, copyrights, trademarks, and trade secrets

$ $
Internet domain names and websites

$ $
Licenses, franchises, and royalties

$ $
Customer lists, mailing lists, or other compilations

$ $
Other intangibles, or intellectual property 5

$

Goodwill

$ $
Total of Part 10. $

Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 6

 

 
Debtor Springs Medical Association P.C.

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Case number (if known), 1:20-bk-17026KHT

 

 

Name

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

68.

69.

No

L) Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?
L} No

L) Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

L] No

CL) Yes

Ea All other assets

70.

71.

72.

73.

74.

75.

76.

77.

78.

79.

Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.
No. Go to Part 12.

CJ Yes. Fill in the information below.

Notes receivable
Description (include name of obligor)

 

 

 

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

~ $
Total face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year $
Tax year $
Tax year $
Interests in insurance policies or annuities
$
Causes of action against third parties (whether or not a lawsuit
has been filed)
$
Nature of claim
Amount requested $
Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
Trusts, equitable or future interests in property
$
Other property of any kind not already listed Examples: Season tickets,
country club membership
$
Total of Part 11.
$

Add lines 71 through 77. Copy the total to line 90.

Has any of the property listed in Part 11 been appraised by a professional within the last year?
L} No

CL) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 7

 
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Springs Medical Association P.C.

Debtor

 

Name

In Part 12 copy all of the totals from the earlier parts of the form.

80.

81

82.

83.

84.

85.

86.

87.

88.

89.

90.

91.

92.

1:20-bk-170

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

H

_

 

 

 

Type of property Current value of Current value
personal property of real property
0.00
Cash, cash equivalents, and financial assets. Copy fine 5, Part 1. $
0.00
. Deposits and prepayments. Copy line 9, Part 2. §
3,200,000.00
Accounts receivable. Copy line 12, Part 3. S$
0.00
Investments. Copy line 17, Part 4. $
1,970.00
Inventory. Copy line 23, Part 5. $
0.00
Farming and fishing-related assets. Copy line 33, Part 6. $
Office furniture, fixtures, and equipment; and collectibles. $ 150.00
Copy line 43, Part 7.
372,490.00
Machinery, equipment, and vehicles. Copy line 51, Part 8. $
0.00
Real property. Copy line 56, Part 9. . .....ecceccecccceceeseeeseneeeeeecneecaeeeeeeeeeseeeaeeaeeeeeeeseaeeeeeneeneaeees > $
0.00
Intangibles and intellectual property. Copy line 66, Part 10. $
. 0.00
All other assets. Copy line 78, Part 11. $
3,574,610.00 0.00
Total. Add lines 80 through 90 for each COlUMN, .............eeseeeee Ota. $a ogy! S
. 3,574,610.00 3,574,610.00
Total of all property on Schedule A/B. Lines 91a + 91D = 92. ooo... eecccccsscessceesseesseenseeeeseeecaessneesceesseeesasesseeaseessaneessaess $
Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 8

 
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Springs Medical Association P.C.

Debtor 1

Case number (known)

 

First Name Middle Name Last Name

50) Other machinery,

Specialized
Computer Desks

Large Office
Printer

Thermoscans, Blood
pressure cuffs,
Pulse Oxineter,

18 Laptop Computers
Bandages, alcohol
swabs, splints,
erutches, &
wheelchairs

Gloves

15 Exam Lights

Needles and
Syringes

Doctor's Printer
LCMS ABSCIEX

Two Television Sets
Pap Smear Equipment

Drug Screening
Equipment

Examining Tables
and Chairs.

Patient Care Gowns
Shamdzu LCMS-8040
Triple Quadrupole

LC/MS/MS Systems
and Related

Equipment
3 EKG Machines

7 Scales and Weight

Official Form 206 A/B

1:20-bk-17026KHT

 

Continuation Sheet for Official Form 206 A/B

fixtures, and equipment (excluding farm machinery and equipment)

1,500.00

5,000.00 Estimate

2,000.00

1,440.00

1,500.00

300.00
600.00

500.00

400.00 Estimate
250,000.00

100.00

100.00

47,000.00

5,000.00

100.00

75,000.00

600.00

250.00

Schedule A/B: Property

1,500.00

5,000.00

2,000.00

1,440.00

1,500.00

300.00
600.00

500.00

400.00
250,000.00
100.00
100.00

28,000.00

5,000.00

200.00

75,000.00

600.00

250.00
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Pagei7 of 43

 

UUM a Uke Ci

Debtor name Springs Medical Association P.C.

United States Bankruptcy Court for the: District of Colorado

 

_ 1:20-bk-17026KHT sean:
Case number (If known): ee L) Check if this is an

amended filin
Official Form 206D .
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.

 

 

1. Do any creditors have claims secured by debtor's property?
Q) No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
@ Yes. Fill in all of the information below.

inne List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one hoamn a fF clal Ramee
secured claim, list the creditor separately for each claim. ount of claim alue of collateral
Do not deduct the value that supports this
Pz Creditor’s name Describe debtor's property that is subject to a lien of collateral. claim
Bluevine Capital, LLC
¢ 78,840.62 ¢ 0.00
Creditor’s mailing address
Describe the lien
Creditor’s email address, if known
Is the creditor an insider or related party?
Date debt was incurred la No
Last 4 digits of account O) Yes
number Is anyone else liable on this claim?
Do multiple creditors have an interest in the No
same property? QO) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
No age - oe
CI Yes. Specify each creditor, including this creditor, As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
(2 Unliquidated
Q Disputed
Creditor’s name Describe debtor’s property that is subject to a lien
ES cesaitrs nat property
$57,000.00 $0.00
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Is the creditor an insider or related party?
Do multiple creditors have an interest in the No
same property? O Yes
No , ; Is anyone else liable on this claim?
CI Yes. Have you already specified the relative W No
priority? . .
. Fill : | .
O No. Specify each creditor, including this UI Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority. As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
CJ Yes. The relative priority of creditors is L) Unliquidated
specified on lines QO Disputed
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional ¢ 801,674.39
Page, if any.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 5S.
Case:20-17026-KHT Doc#: 44 Filed:11/30/20 Entered:11/30/20 23: Si 04 ragels of 43
Debtor Springs Medical Association P.C Case number (irknown) 20-bk-17026K

 

Name

oe Column A Column B
Additional Page Amount of claim Value of collateral

Do not deduct the value that supports this

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of collateral. claim
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.
Creditor’s name Describe debtor’s property that is subject to a lien
EquitiFirst
$250,000.00 $0.00
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Is the creditor an insider or related party?
Do multiple creditors have an interest in the W No
same property? O Yes
No
L) Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? ld No
OQ) No. Specify each creditor, including this Q2 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority.
As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
C) Yes. The relative priority of creditors is QO Unliquidated
specified on lines a Disputed
2.4 |Creditor’s name Describe debtor's property that is subject to a lien
Med Direct
$10,000.00 ¢ 0.00

 

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

 

 

 

Date debt was incurred Describe the lien

 

Last 4 digits of account
number
Do multiple creditors have an interest in the Is the creditor an insider or related party?
same property? ( No
W No U Yes
(I Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? rr No
U nos pecify each creditor, including this (2 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

creditor, and its relative priority.

 

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
QO) Yes. The relative priority of creditors is QQ Unliquidated
specified on lines QO Disputed

 

 

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 5
Case:20-17026-KHT Doc#: 44 Filed:11/30/20 Entered:11/30/20 23: 6

Debtor Springs Medical Association P.C

Case number (if known)

 

Name

 

 

 

 

 

 

2.0: 4 KG Rage19 of 43

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oe Column A Column B
Additional Page Amount of claim Value of collateral
Do not deduct the value that supports this
of collateral. claim
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.
Creditor’s name Describe debtor’s property that is subject to a lien
Medusind
$46,000.00 $0.00
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Is the creditor an insider or related party?
Do multiple creditors have an interest in the W No
same property? O Yes
No
L) Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? ld No
OQ) No. Specify each creditor, including this Q2 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority.
As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
C) Yes. The relative priority of creditors is QO Unliquidated
specified on lines QO Disputed
2.68 |Creditor’s name Describe debtor's property that is subject to a lien
MW Capital LLC
¢ 250,000.00 ¢ 0.00
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Do multiple creditors have an interest in the Is the creditor an insider or related party?
same property? M No
W No U Yes
(I Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? fd No
OC no. Specify each creditor, including this C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority.
As of the petition filing date, the claim is:
Check all that apply.
" _ _ L Contingent
QO) Yes. The relative priority of creditors is QQ Unliquidated
specified on lines a Disputed
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 5
Case:20-17026-KHT Doc#: 44 Filed:11/30/20 Entered:11/30/20 23: 6

Debtor Springs Medical Association P.C

Case number (if known)

 

Name

ea Additional Page

2.0: 4 KG Page2o of 43

Column A Column B
Amount of claim Value of collateral

 

 

 

 

 

Do not deduct the value that supports this

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of collateral. claim
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.
2.7 |Creditor's name Describe debtor’s property that is subject to a lien
On Deck Capital
$109,833.77 $75,000.00
Creditor’s mailing address
Boulder, CO 80302
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account Judgment
number
Is the creditor an insider or related party?
Do multiple creditors have an interest in the W No
same property? O Yes
No
L) Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? ld No
OQ) No. Specify each creditor, including this Q2 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority.
As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
C) Yes. The relative priority of creditors is a Unliquidated
specified on lines a Disputed
2.__|Creditor’s name Describe debtor's property that is subject to a lien
$ $
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Do multiple creditors have an interest in the Is the creditor an insider or related party?
same property? O) No
O No QO) Yes
(I Yes. Have you already specified the relative Is anyone else liable on this claim?
priority? OQ No
OC no. Specify each creditor, including this C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority.
As of the petition filing date, the claim is:
Check all that apply.
" _ _ L Contingent
QO) Yes. The relative priority of creditors is QQ Unliquidated
specified on lines QO Disputed
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 5
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page21 of 43

Springs Medical Association P.C. 1:20-bk-17026KHT

Name

Ee List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

Debtor Case number (if known)

 

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line in Part 1 Last 4 digits of
did you enter the account number
related creditor? for this entity

Name and address

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 5 of 5
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page22 of 43

Fill in this information to identify the case:

 

Debtor Springs Medical Association P.C.

 

United States Bankruptcy Court for the: District of Colorado
1:20-bk-17026KHT

 

Case number
(If known)

 

L) Check if this is an
amended filing

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 

 

Ean List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
LJ No. Go to Part 2.
(A Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claimis: «9 800.00
a Denver Pain Check all that apply. oe $
Q) Contingent
CQ) Unliquidated
Q) Disputed
Basis for the claim:
Date or dates debt was incurred
Last 4 digits of account Is the claim subject to offset?
number W No
. . O) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
2.2| Priority creditor’s name and mailing address As of the petition filing date, the claim is: 5 5
Check all that apply.
Q) Contingent
Q) Unliquidated
U) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of t
number accoun Is the claim subject to offset?
Q) No
Specify Code subsection of PRIORITY unsecured O) Yes
claim: 11 U.S.C. § 507(a) ( )
Ex] Priority creditor's name and mailing address As of the petition filing date, the claims: ¢ 5
Check all that apply.

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

Q) Contingent
() Unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?
Q) No
O) Yes

page 1 of 3
Debtor

Case;2O GOP hsktlh poc#:44 Filed:11/30/20 Entered:11/30/20 23

Case number (if known)

 

Name

ir List All Creditors with NONPRIORITY Unsecured Claims

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3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

BA]

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor's name and mailing address
Peublo Chieftain

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:

Check aif that apply.
Q) Contingent
Q) unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?

No
C) Yes

As of the petition filing date, the claim is:

Check all that apply.
QO) Contingent
QO) unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?

QO) No
QO) Yes

As of the petition filing date, the claim is:

Check aif that apply.
() Contingent
QO) unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?
OQ) No
O) Yes

As of the petition filing date, the claim is:

Check aif that apply.
Q) Contingent
QO) Unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?

Q) No
O) Yes

As of the petition filing date, the claim is:

Check all that apply.
Q) Contingent
() Unliquidated
Q) Disputed

Basis for the claim:

Is the claim subject to offset?
QO) No
OU Yes

As of the petition filing date, the claim is:

Check all that apply.
QO) Contingent

QO) Unliquidated

Q) Disputed

Basis for the claim:

Is the claim subject to offset?

O) No
Cl Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

5 1,125.00

 

page 2 of _3_
Caseig med Qeesdiibh p.dooc#:44 Filed:11/30/20 Entered:11/30/20 23:P:2006k-11762BKET OT 43

Debtor ase number (if known)

 

Name

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

 

5a. Total claims from Part 1 5a. $ 9,800.00

5b. Total claims from Part 2 5b. + $1,125.00

5c. Total of Parts 1 and 2 Bo g 10,925.00
Lines 5a + 5b = 5c. .

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 3 of 3
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page25 of 43

UMMC LAU Mer cid

Debtor name

Springs Medical Association P.C.

 

 

United States Bankruptcy Court for the: District of Colorado

Case number (If known):

1:20-bk-17026KHT Chapter 11

 

Official Form 206G

 

Schedule G: Executory Contracts and Unexpired Leases

LJ Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1.

Does the debtor have any executory contracts or unexpired leases?

LJ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
@ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official

Form 206A/B).

2. List all contracts and unexpired leases

2.1

2.2

2.3

2.4

2.5

Official Form 206G

Medical Malpractice Insurance
State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Office Equipment Lease
State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Lease of Office Space
State what the contract or Lessee
lease is for and the nature

of the debtor’s interest

State the term remaining 21/2 years remaining on the Lease

List the contract number of
any government contract

Pueblo Office Lease
State what the contract or

lease is for and the nature Lessee
of the debtor's interest
State the term remaining 31/2 Years

List the contract number of
any government contract

Medical Equipment Lease Contract
State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining 3 Years

List the contract number of
any government contract

Schedule G: Executory Contracts and Unexpired Leases

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

Med Protective
kylee.heinold@medpro.com

Financial Pacific Leasing
Auburn, WA, 98001

75 Printers Parkway LLC
155 Printers Parkway
Colorado Springs, CO, 80910

Pueblo Remax

CLC Group Vendor Financial Services
IL

page 1 of 2_
Debtor

po Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

Springs Medical Association P.C.

 

Name

List all contracts and unexpired leases

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number o
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G

Case number (if known)

Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page26 of 43

1:20-bk-17026KHT

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired lease

Medical Equipment contract Mimedx
Lessee

One Year

Medical Supplies Contract Phenomenex
Lessee

Schedule G: Executory Contracts and Unexpired Leases

page 2 of 2_
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page27 of 43

Fill in this information to identify the case:

 

Debtor name Springs Medical Association P.C.

 

United States Bankruptcy Court for the: District of Colorado

Case number (If known): 1:20-bk-17026KHT

 

L) Check if this is an
amended filing

Official Form 206H
Schedule H: Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

 

 

1. Does the debtor have any codebtors?
4 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

L) Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

Check all schedules
Name Mailing address ee that apply:

2.1

Ooo
omo
TT

2.2

DOO
omo
7

2.3
E/F

ooo

2.4

Ooo

2.5

Ooo

2.6

Doo
omo
TT

Official Form 206H Schedule H: Codebtors page 1 of 1
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UMMM Ciel ee (eC Mer-CioH

 

Debtor name Springs Medical Association P.C.

 

United States Bankruptcy Court for the: District of Colorado

Case number (If known): _ 1:20-bk-17026KHT

 

CI Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/19

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

1. Gross revenue from business

 

 

L) None
Identify the beginning and ending dates of the debtor’s fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the (@ Operating a business
fiscal year to filing date: From 94/30/2020 to Filing date U2 other $ 1,600,000.00
MM/DD/YYYY
For prior year: From 91/01/2019 to 12/31/2019 Wi Operating a business 1,200,000.00
MM/DD/YYYY MM/DD/YYYY C2 other $e
For the year before that: From 01/01/2018 tg 12/31/2018 (©) Operating a business 800,000.00
MM/DD/YYYY MM/DD/YYYY 2 other $ eo

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

 

 

 

( None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the 0.00
fiscal year to filing date: From 04/30/2020 to Filing date So
MM/DD/YYYY
For prior year: From 91/01/2019 to 12/31/2019
MM/DD/YYYY MM/DD/YYYY $ 0.00
For the year before that: From 01/01/2018 to 12/31/2018
MM/DD/YYYY MM/DD/YYYY $ 0.00

 

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Debtor Springs Medical Association P.C. Case number known) 1:20-bk-17026KHT

 

 

Name

Ey List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

i4 None

Creditor’s name and address Dates Total amount or value Reasons for payment or transfer

Check all that apply
3.1.

Secured debt

 

Creditor’s name
Unsecured loan repayments

Suppliers or vendors
Services

Other

OUOCD

 

3.2.
Secured debt

 

Creditor’s name Unsecured loan repayments
Suppliers or vendors
Services

Other

OUOCD

 

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their
relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
agent of the debtor. 11 U.S.C. § 101(31).

LJ None
Insider's name and address Dates Total amount or value Reasons for payment or transfer
4.1.
Eric Papalini 11/15/2020 ¢ Unknown Payments were claimed to have

 

Insider's name

been made on the basis that Eric

11/30/2020 Papalina was managing the Debtor.

Relationship to debtor
Claims Status as Chief Operating Officer

 

4.2.

 

Insider’s name

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
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1:20-bk-1 7026KHT

Springs Medical Association P.C.

Debtor Case number (i known)

 

 

Name

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

 

 

@Q None

Creditor’s name and address Description of the property Date Value of property
5.1.

$

Creditor’s name
6.2.

Creditor’s name $

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

@ None

Creditor’s name and address Description of the action creditor took Date action was Amount
taken

 

Creditor’s name

Last 4 digits of account number: XXXX—

es Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

 

LJ None
Casetitle ; , Nature of case Court or agency’s name and address Status of case
On Deck Capital v. Springs Medical Boulder County District Court
7.1. Associates P.C. et. al. The case asserts a claim for Pending
breach of contract, claim for QO
replevin, among other claims. On appeal
Case number Boulder, CO 80302 L) Concluded
2020cv31744
Case title Court or agency’s name and address a .
72, Med Direct Capital LLC v. Springs Circuit Court for the Eleventh Judidicial Pending
“Medical Associations Inc. et. al. District in and for Miami-Dade County LJ on appeal
oo, L Concluded
Case number Breach of contract etc. Miami, FL

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
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Debtor Springs Medical Association P.C. Case number ttknown, | :20-bk-1 7026KHT
Name

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

 

 

 

2) None
Custodian’s name and address Description of the property Value
$
Custodian’s name
Case title Court name and address
Name

Case number

 

Date of order or assignment

 

| Part 4: | Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

2] None

Recipient’s name and address Description of the gifts or contributions Dates given Value

 

9.1. — TT $
Recipient's name

 

 

 

 

$
Recipient's relationship to debtor
——_. §
9.2. Recipient's name
$
Recipient’s relationship to debtor
| Part 5: | Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
2) None
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred If you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).
$

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Debtor Springs Medical Association P.C.

 

Name

Certain Payments or Transfers

11. Payments related to bankruptcy

Case number (i known)

1:20-bk-17026KHT

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,

seeking bankruptcy relief, or filing a bankruptcy case.

{4 None

Who was paid or who received the transfer?

11.1.

 

Address

Email or website address

 

Who made the payment, if not debtor?

 

Who was paid or who received the transfer?

11.2.

 

Address

Email or website address

 

Who made the payment, if not debtor?

 

If not money, describe any property transferred

If not money, describe any property transferred

12. Self-settled trusts of which the debtor is a beneficiary

Dates

Dates

Total amount or
value

Total amount or
value

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to

a self-settled trust or similar device.

Do not include transfers already listed on this statement.

 

 

Dates transfers
were made

4 None
Name of trust or device Describe any property transferred
Trustee
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Total amount or
value

$

page 5
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Debtor Springs Medical Association P.C. Case number (known) 1:20-bk-17026KHT

 

 

Name

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

 

 

None
Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value
13.1. $
Address
Relationship to debtor
Who received transfer? ——___ $

13.2.

 

Address

Relationship to debtor

aa Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

Does not apply

Address Dates of occupancy
14.1. From To
14.2. From To

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
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Debtor Springs Medical Association P.C.

Filed:11/30/20

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Case number (if known) 1:20-bk-17026KHT

 

 

Name

Health Care Bankruptcies

15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:

x diagnosing or treating injury, deformity, or disease, or

— providing any surgical, psychiatric, drug treatment, or obstetric care?

LL} No. Go to Part 9.
1 Yes. Fill in the information below.

Facility name and address

151. Springs Medical Associates, P.C.

 

Facility name

155 Printers Parkway
230
Colorado Springs, CO 80910

Facility name and address

15.2. Springs Medical Associates P.C.

 

Facility name

2099 West US 50
Pueblo, CO 81008

Nature of the business operation, including type of services the
debtor provides

Medical

Location where patient records are maintained (if different from facility
address). If electronic, identify any service provider.

Cloud Based

Nature of the business operation, including type of services the
debtor provides

EMR

Location where patient records are maintained (if different from facility
aaarsss)- If electronic, identify any service provider.
uebio

Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

C2 No.

Yes. State the nature of the information collected and retained, Debtor collects SSN, DOB, etc.
Does the debtor have a privacy policy about that information?

LJ No
i Yes

If debtor provides meals
and housing, number of
patients in debtor’s care

How are records kept?

Check all that apply:

Electronically
UL) Paper

If debtor provides meals
and housing, number of
patients in debtor's care

How are records kept?

Check all that apply:

Electronically
O Paper

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

Wi No. Go to Part 10.

Yes. Does the debtor serve as plan administrator?

CJ No. Go to Part 10.

C) Yes. Fill in below:
Name of plan

Employer identification number of the plan

EIN:

 

Has the plan been terminated?

LI No
UL) Yes

Official Form 207

 

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Debtor Springs Medical Association P.C. Case number (known) 1:20-bk-17026KHT

Name

 

 

| Part 10: | Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

 

 

dd None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer
18.1. XXXX— QO Checking $
Name .
i) Savings
i) Money market
QO Brokerage
O Other.
18.2. XXXX—_ CL) checking _ gg
Name QQ) Savings
QQ) Money market
QO Brokerage
L) other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

 

ka None
Depository institution name and address Names of anyone with access to it Description of the contents Does debtor
LC) No
Name QO) Yes

Address

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

 

i@ None
Facility name and address Names of anyone with access to it Description of the contents Does debtor
still have it?
CI No
Sams L) Yes

Address

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8
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Debtor Springs Medical Association P.C. Case number (known) 1:20-bk-17026KHT

 

 

Name

Gera Property the Debtor Holds or Controls That the Debtor Does Not Own

 

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

Wd None

Owner’s name and address Location of the property Description of the property Value

 

Name

| Part 12: Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

= Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

= Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

= Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

 

WY No
C) Yes. Provide details below.
Case title Court or agency name and address Nature of the case Status of case
O Pending
Case number Name LJ on appeal
CD conctuded

 

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

id No
U2) Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

Name Name

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 9
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Debtor Springs Medical Association P.C. Case number «known 1:20-bk-17026KHT

 

 

Name

24. Has the debtor notified any governmental unit of any release of hazardous material?

kd No

LI Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

Name Name

| Part 13: | Details About the Debtor’s Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in contro! within 6 years before filing this case.
Include this information even if already listed in the Schedules.

 

dd None
Business name and address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
EIN:
25.1.
Name Dates business existed
From To
25.2, Business name and address Describe the nature of the business Employer Identification number

Do not include Social Security number or ITIN.

 

EIN:
Name Dates business existed
From. To
Business name and address Describe the nature of the business Employer Identification number

Do not include Social Security number or ITIN.

25.3. EIN:

Name

 

Dates business existed

From To

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10
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Debtor

Springs Medical Association P.C.

 

Name

26. Books, records, and financial statements

Case number (if known) 1:20-bk-17026KHT

 

26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

LJ None

Name and address

26a.1, Sarah Sullivan

 

Name

Name and address

26a.2.

 

Name

Dates of service

From 01/01/2016

To 01/01/2020

Dates of service

From

To

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial

statement within 2 years before filing this case.

W None

Name and address

26b.1.

 

Name

Name and address

26b.2.

 

Name

Dates of service

From

To

Dates of service

From

To

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

LI None

Name and address

26c.1, Eric Papalini

 

Name

Official Form 207

If any books of account and records are
unavailable, explain why

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 11
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Debtor Springs Medical Association P.C. Case number (itknown) 1:20-bk-17026KHT

Name

 

 

If any books of account and records are

Name and address . ,
unavailable, explain why

26c.2.

 

Name

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

ld None

Name and address

26.1.

 

Name

Name and address

26.2.

 

Name

27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

idl No

() Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$

 

 

Name and address of the person who has possession of inventory records

27.1.

 

Name

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 12
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Debtor Springs Medical Association P.C. Case number ttkaown) | -20-bk-17026KHT
Name

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$

 

 

Name and address of the person who has possession of inventory records

27.2.

 

Name

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any interest % of interest, if any

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Ld No
LI Yes. Identify below.
Name Position and nature of any Period during which position
Address interest or interest was held

To
To
To
To

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

W No
LI) Yes. Identify below.

 

Amount of money or description Dates Reason for providing
Name and address of recipient and value of property the value
30.1.
Name
Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 13
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Debtor Springs Medical Association P.C. Case number «known 1:20-bk-17026KHT

 

 

Name

Name and address of recipient

 

 

Name

Relationship to debtor

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
¥) No
LI) Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

EIN:

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
No
C) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

EIN:
a Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 11/30/2020
MM /DD /YYYY

x /s/ Dr. Francis Joseph, MD. Printed name Pr. Francis Joseph, MD.

Signature of individual signing on behalf of the debtor

 

 

Position or relationship to debtor Authorized 100% Shareholder

 

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

LI No
Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14
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Springs Medical Association P.C. 1:20-bk-17026KHT
Debtor Name Case number (known)

 

Continuation Sheet for Official Form 207

7) Legal Actions

Francis Joseph M.D. v. Eric Papalini
2020CV030802

Proceeding against Property of the bankruptcy estate.
District Court El Paso County

Colorado Springs, Colorado Springs, CO 80910
Pending

2020cv30055

Damages.

El Paso County District Courty

co

Pending

15) Health Care Bankruptcies

Springs Medical 850 East Harvard Avenue, Electronically
Associates P.C. Denver, CO 80210

Official Form 207 Statement of Financial Affairs for Non-Individuals
Case:20-17026-KHT Doc#:44 Filed:11/30/20 Entered:11/30/20 23:22:04 Page43 of 43

Fill in this information to identify the case and this filing:

 

Debtor Name Springs Medical Association P.C.

 

United States Bankruptcy Court for the: District of Colorado

Case number (if known): 1:20-bk-17026KHT

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

8

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Os O8BFBBA SHA

Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correct.

11/30/2020 X /s/ Dr. Francis Joseph, MD.
MM/DD/YYYY Signature of individual signing on behalf of debtor

Executed on

 

Dr. Francis Joseph, MD.

Printed name

Authorized 100% Shareholder

Position or relationship to debtor

 

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
